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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

     (1)    MEGAN CAPEL, Administratrix
                                      )
            of the Estate of Terral Brooks
                                      )
            Ellis II, Deceased,       )
     (2)    TERRAL B. ELLIS, SR., and )
     (3)    SHELLY BLISS,             )
                                      )
            Plaintiffs,               )
                                      )
            v.                        )                     Case No.: 17-cv-00325-JED-FHM
                                      )
     (1)    OTTAWA COUNTY BOARD OF )                        ATTORNEY LIEN CLAIMED
            COUNTY COMMISSIONERS,     )                     JURY TRIAL DEMANDED
     (2)    JEREMY FLOYD, SHERIFF OF  )
            OTTAWA COUNTY,            )
            in his Official Capacity, )
     (3)    TERRY DURBOROW,           )
     (4)    THERESA HORN L.P.N.,      )
     (5)    JENNIFER GRIMES,          )
     (6)    KENT WILLIAMS,            )
     (7)    BAPTIST HEALTHCARE OF     )
            OKLAHOMA, LLC d/b/a       )
            INTEGRIS MIAMI EMS;       )
     (8)    OFFICER JEFFREY HARDING, )
     (9)    OFFICER BRAY, and         )
     (10)   OFFICER CHARLES           )
            SHOEMAKER,                )
                                      )
            Defendants.               )

                                            COMPLAINT

            COMES NOW, the Plaintiffs, Megan Capel (“Plaintiff”), as the Administratrix

     of the Estate of Terral Ellis II (“Mr. Ellis”), deceased, Terral Ellis, Sr. and Shelly Bliss by

     and through their attorneys of record, in the above styled case, and for their causes of

     action against the Defendants, allege and states as follows:

                                INTRODUCTORY STATEMENT




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            1.      This lawsuit is brought against Defendants for negligence, wrongful death

     and violations of Mr. Ellis’ constitutional rights, that caused his prolonged pain, suffering

     and untimely death while in the custody of the Ottawa County Sheriff’s Department

     (“OCSD”).

                                  JURISDICTION AND VENUE

            2.      The jurisdiction of the Court is invoked pursuant to 28 U.S.C. § 1343 to

     secure protection of and to redress deprivations of rights secured by the Eighth

     Amendment and/or Fourteenth Amendment to the United States Constitution as enforced

     by 42 U.S.C. § 1983, which provides for the protection of all persons in their civil rights

     and the redress of deprivation of rights under color of law.

            3.      The jurisdiction of this Court is also invoked under 28 U.S.C. § 1331 to

     resolve a controversy arising under the Constitution and the laws of the United States,

     particularly the Eighth Amendment and/or Fourteenth Amendment to the United States

     Constitution and 42 U.S.C. § 1983.

            4.      This Court has supplemental jurisdiction over the state law claims asserted

     herein pursuant to 28 U.S.C. § 1367, since the claims form part of the same case and

     controversy arising under the United States Constitution and federal law.

            5.      Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of

     the events or omissions giving rise to Plaintiffs’ claims occurred in this District.

                                              PARTIES

            6.      Plaintiff Megan Capel (“Plaintiff Capel”) is the duly appointed

     Administratrix of the Estate of Terral Ellis (“Mr. Ellis”), deceased. Plaintiff Capel is also

     the mother of Mr. Ellis’ minor child.




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            7.      Plaintiff Terral B. Ellis, Sr. (“Plaintiff Ellis, Sr.”) is the father of the

     deceased.

            8.      Plaintiff Shelly Bliss (“Plaintiff Bliss”) is the mother of the deceased.

            9.      Defendant Terry Durborow (“Former Sheriff Durborow” or “Defendant

     Durborow”) was at times relevant hereto, the Sheriff of Ottawa County, Oklahoma,

     residing in Ottawa County, Oklahoma. Defendant Durborow, as Sheriff and head of the

     Ottawa County Sheriff’s Department at times relevant hereto, was responsible for

     ensuring the safety and well-being of inmates detained and housed at the Ottawa County

     Jail, including the provision of appropriate medical care and treatment to inmates in need

     of such care, pursuant to 57 Okla. Stat. § 47. In addition, Defendant Durborow was, at

     times pertinent hereto, responsible for creating, adopting, approving, ratifying, and

     enforcing the rules, regulations, policies, practices, procedures, and/or customs of the

     Ottawa County Sheriff’s Department and the Ottawa County Jail, including the policies,

     practices, procedures, and/or customs that violated Mr. Ellis’s rights as set forth in this

     Complaint. Durborow retired from his position as Sheriff, effective December 31, 2015.

     Defendant Durborow is sued in his individual capacity.

            10.     Defendant Jeremy Floyd (“Sheriff Floyd” or “Defendant Floyd”) is the

     current Sheriff of Ottawa County, Oklahoma, residing in Ottawa County, Oklahoma.

     Sheriff Floyd is sued purely in his official capacity. A claim against a state actor in his

     official capacity, such as Sheriff Floyd, “is essentially another way of pleading an action

     against the county or municipality” he represents and is considered under the standard

     applicable to § 1983 claims against municipalities or counties. Porro v. Barnes, 624 F.3d

     1322, 1328 (10th Cir. 2010). See also see Kentucky v. Graham, 473 U.S. 159, 166 (1985)




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     (“[A]n official-capacity suit is, in all respects other than name, to be treated as a suit

     against the entity.”). As the elected Sheriff, Sheriff Floyd is, in essence a governmental

     entity. Sheriff Floyd is being sued purely in his official capacity.

            11.     Defendant Board of County Commissioners of Ottawa County (“BOCC”)

     is a statutorily created governmental entity. In Oklahoma, any tort action against the state

     or its political subdivisions must name that entity as defendant. See 51 O.S. § 163(C).

     Under Oklahoma’s Governmental Tort Claims Act (“GTCA”), the governmental entity

     “assumes liability for loss resulting from the torts of its employees acting within the

     scope of their employment and such liability is exclusive and in place of all other liability

     of an employee at common law or otherwise.” Shephard v. CompSource, Oklahom, 209

     F.3d. 288, 294 (Okla. 2009). BOCC is a proper governmental Defendant in this action

     and is vicariously liable for the torts of OSCD personnel acting within the scope of

     employment.

            12.     Defendant Theresa Horn (“Defendant Horn” or “Nurse Horn”) is a

     Licensed Practical Nurse and is, and was at all times relevant hereto, the Jail Nurse for

     the Jail. Theresa Horn is the only Jail Nurse at the Jail and is on staff only five days a

     week, otherwise she is on call. Defendant Horn is sued in her individual capacity.

            13.     Defendant Jeffrey Harding (“Defendant Harding” or “Officer Harding”)

     was, at all times relevant hereto, employed by the OCSD and stationed in the Jail.

     Defendant Harding is sued in his individual capacity.

            14.     Defendant Charles Shoemaker (“Defendant Shoemaker” or “Officer

     Shoemaker”) was, at all times relevant hereto, employed by the OCSD and stationed in

     the Jail. Defendant Shoemaker is sued in his individual capacity.




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            15.     Defendant Bray (“Officer Bray”) was, at all times relevant hereto,

     employed by the OCSD and stationed in the Jail. Defendant Bray is sued in his individual

     capacity.

            16.     Defendant Jennifer Grimes (“Defendant Grimes”) was, at all times

     relevant hereto, an EMT-Paramedic employed by INTEGRIS Miami EMS. Defendant

     Grimes was assigned as the Secondary Patient Caregiver for Mr. Ellis when the

     INTEGRIS Baptist Regional EMS ambulance was dispatched to attend to and transport

     Mr. Ellis. Defendant Grimes is sued in her individual capacity.

            17.     Defendant Kent D. Williams (“Defendant Williams”) is an EMT-

     Paramedic and was, at all times relevant hereto, employed by INTEGRIS Baptist

     Regional EMS. Defendant Williams was assigned as the Primary Patient Caregiver for

     Mr. Ellis when the INTEGRIS Baptist Regional EMS ambulance was dispatched to

     attend to and transport Mr. Ellis. Defendant Williams is sued in his individual capacity.

            18.     Defendant Baptist Healthcare of Oklahoma, LLC, is an Oklahoma

     Domestic Limited Liability Company doing business under a variety of trade names,

     including INTEGRIS Miami EMS (“Defendant INTEGRIS” or “INTEGRIS”).

     Defendant INTEGRIS is an emergency medical services company, conducting business

     in Miami, Oklahoma. Defendant INTEGRIS is vicariously liable for the torts of its

     employees that occur within in the scope of employment. Defendant INTEGRIS, at all

     times relevant hereto, employed Defendant Grimes and Defendant Williams (collectively

     “Paramedic Defendants”) as paramedics.

                                   FACTUAL ALLEGATIONS




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            19.     Plaintiffs re-allege and incorporate by reference paragraphs 1 through 18,

     as though fully set forth herein.

            20.     Beginning in early October of 2015, Mr. Ellis was under the custody of

     the Ottawa County Sheriff’s Department (“OCSD”) at the Ottawa County Jail (“Jail”).

            21.     Upon arriving at the Jail, Mr. Ellis started a daily exercise routine and was

     in good health. Unfortunately, however, his health began to decline and serious and

     obvious health needs began to materialize.

            22.     Mr. Ellis died October 22, 2015 while in custody at the Jail.

            23.     For many days prior to his death, Ellis had exhibited a serious medical

     need, and/or complained to detention staff and medical staff, including Nurse Horn, of

     seizures, convulsions, uncontrollable sweating, dehydration, and the inability to walk,

     along with pain in his back, ribs and internal organs. These were symptoms of an

     emergent and life-threatening condition, requiring immediate hospital-level care. Yet,

     detention and medical staff at the Jail, including Nurse Horn, disregarded the obvious,

     known and substantial risks to Mr. Ellis’ health by failing to send him to a hospital or

     otherwise provide appropriate care treatment or evaluation.

            24.     Mr. Ellis was clearly sick and in pain, so much so that a fellow inmate had

     to hand feed and water Mr. Ellis -- when he was able to eat at all -- and had to give him

     cups to urinate in and then dump them out for him. While fellow inmates attempted to

     assist Mr. Ellis, detention and medical staff, including Nurse Horn, failed and refused to

     provide him with assistance.




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             25.    When Nurse Horn finally saw Mr. Ellis, she failed to send him to the

     hospital or refer him to a physician for an assessment, despite the fact that Mr. Ellis was

     sweating profusely, in severe pain and no longer eating or drinking.

             26.    On or about October 21, 2015, Mr. Ellis and his fellow inmate continued

     to beg detention staff and medical staff for medical attention. During this time period,

     Mr. Ellis continued to exhibit symptoms of a serious and life-threatening illness,

     including seizures, convulsions, uncontrollable sweating, dehydration, and the inability to

     walk, along with severe pain in his back, ribs and internal organs. When Mr. Ellis and

     the other inmate requested medical attention, the detention staff and Nurse Horn

     responded by telling Mr. Ellis that he needed to stop faking it and to lay down and serve

     his time. Mr. Ellis and the other inmate repeatedly asked detention staff for medical

     assistance for Mr. Ellis, but were told that there was nothing they could do. At one point,

     Mr. Ellis asked, “What are you going to tell my 2 year-old child when I die in here?”

     The detention officer and Nurse Horn replied by telling Mr. Ellis to lie back down.

     Overall, his symptoms were disregarded by detention and medical staff, including Nurse

     Horn.

             27.    Also on or about October 21, Mr. Ellis told the inmate, as well as the

     detention staff and medical staff, including Nurse Horn, that he was in the worst pain that

     he had ever experienced, and that he needed to go to the hospital. Again, detention staff

     and medical staff, including Nurse Horn, ignored Mr. Ellis’ pleas for help.

             28.    At this time, on or about October 21, Mr. Ellis turned to the fellow inmate

     and asked, “They’re really not going to help me, are they?” Mr. Ellis commented, “I

     think I’m going to die” in here. The inmate helped Mr. Ellis to his bunk and Ellis began




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     to have a seizure. Detention officers entered the pod and snapped ammonia sticks under

     Mr. Ellis’ nose until the seizure ended, then detention officers left as if nothing had

     happened. They provided no medical care. They did not call a doctor or nurse. They did

     not call an ambulance. They were deliberately indifferent to his serious medical needs.

            29.     After the detention officers left, on or about October 21, Mr. Ellis was

     “begging for his life… he was begging for help”. Several other inmates joined in,

     demanding that detention staff provide Ellis with some help. They did nothing. Mr. Ellis

     then had another seizure. After this seizure, detention officers and Nurse Horn came to

     the pod. The inmates in the pod were complaining and inquiring as to why Ellis was not

     getting any medical attention. In response to the inmates’ complaints, detention staff

     moved the inmates into the “rec yard”.

            30.     On or about the afternoon of October 21, after Mr. Ellis had multiple

     seizures, the Paramedic Defendants, employed by Defendant INTEGRIS, arrived in the

     pod. In deliberate indifference to Mr. Ellis’ serious and obvious medical needs, Officers

     Shoemaker, Harding, Bray (collectively referred to as “Officer Defendants”) told the

     Paramedic Defendants that Mr. Ellis was “faking” his illness and that the County was not

     going to “foot the bill” for his care at the Hospital. Mr. Ellis reported to the Paramedic

     Defendants that: (1) he had had a seizure, despite no history of seizures; (2) he was

     “severely dehydrated”; (3) he was having pain in his ribs; and (4) he had been urinating

     in a cup because he was unable to walk to the toilet. Nevertheless, despite these serious

     and concerning symptoms and history, the Paramedic Defendants failed, in violation of

     the duty of care owed to Mr. Ellis, to take him to the hospital. Indeed, prior to leaving

     Mr. Ellis at the Jail, the Paramedic Defendants did not even secure Mr. Ellis’ signature to




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     document any refusal of treatment. On information and belief, detention and/or medical

     staff prevented and obstructed Mr. Ellis from signing the INTEGRIS Miami EMS refusal

     of treatment form.

            31.     Paramedic Defendants’ negligent failure to transport Mr. Ellis to the

     hospital to secure medical evaluation and treatment for Mr. Ellis was a proximate cause

     of his continuing physical and mental pain, anguish, suffering and death. And Defendant

     INTEGRIS is vicariously liable for the Paramedic Defendants’ negligence and the

     damages resulting from that negligence.

            32.     No physician ever came to the Jail to assess Mr. Ellis’s condition. Indeed,

     at the time of Mr. Ellis’ incarceration, as a matter of policy and practice, OCSD did not

     provide access to any physician at the Jail for any inmate.            Rather, OSCD only

     maintained a contract with a part-time physician’s assistant. Nevertheless, despite his

     obvious symptoms of a serious medical condition, it is believed that Mr. Ellis was never

     seen by the physician’s assistant.

            33.     While the Paramedic Defendants were at the Jail, Mr. Ellis asked to call

     his grandfather about his condition, but the detention staff refused to let him do so.

            34.     After the Paramedic Defendants left the Jail, the OSCD staff moved Mr.

     Ellis to a holding cell. Responsible detention staff took Mr. Ellis out of the pod after the

     ambulance left and locked him down in H1, a segregation cell, alone and away from the

     inmates who were doing their best to take care of him in lieu of proper medical attention.

            35.     The next day, October 22, 2015, the day of Mr. Ellis’ death, Mr. Ellis was

     found in his cell in respiratory distress. At about 1:50 p.m., an ambulance was again

     called to the Jail. This time a Quapaw Tribe EMS ambulance responded. Detention




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      and/or medical staff at the Jail told the Quapaw Tribe paramedics that Mr. Ellis was

      suffering from back pain.

             36.     At 2:14 p.m. Mr. Ellis was finally taken to a Miami hospital, but it was too

      late. On October 22, 2015, less than an hour after being taken to the hospital, Mr. Ellis

      was declared dead.

             37.     The Quapaw Tribe paramedics and the medical examiner’s office were

      both told that Mr. Ellis was found alone in his cell with acute respiratory distress, and a

      bed sheet tied loosely around his neck. Yet, the medical examiner recorded no injuries to

      Ellis’ neck and determined that Mr. Ellis died of sepsis and pneumonia. Sepsis is a life-

      threatening condition where the body’s response to an infection causes damage to organs

      and tissue.

             38.     It seems that the bed sheet was placed around Mr. Ellis’ neck, by staff at

      the Jail, in an apparent attempt to portray his death as a suicide and to cover up the

      deliberate indifference to his serious and obvious medical needs.

             39.     Jail staff never called Ellis’ emergency contact or any family to tell them

      he was ill. The family was only notified after he was taken to the hospital where he died

      soon after arriving.

             40.     When Mr. Ellis’ body was viewed at the funeral home there were massive

      bruises on his torso.

             41.     On information and belief, Sheriff Durborow and/or agents of Sheriff

      Durborow removed both the digital video recorders (DVRs) and the hard drives out of the

      Jail and replaced them with new ones after Mr. Ellis died in an apparent attempt to cover

      up and conceal the deliberate indifference to Mr. Ellis’ serious medical needs.




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             42.     A few weeks after Ellis’ death, journalists requested all records related to

      his custody, including the jail’s incident report of his death. Sheriff Durborow responded

      in a letter, writing that, “it is his opinion that no records held by the Ottawa County

      Sheriff’s Department concerning the death of Terral Ellis, are subject to public

      inspection.”

             43.     Durborow announced his retirement less than two months later, in

      December 2015, at an Ottawa County Commissioners meeting.

             44.     Following Durborow’s retirement, the then-Interim Sherriff stated to the

      local paper that Mr. Ellis’ death was “untimely” and that “maybe there’s something else

      [the Sheriff’s Department] could have done”.

             45.     The OCSD policies include a “Duty Station Description” for the position

      of Jail Nurse that states the following:

             “Basically, a Correctional Facility Nurse does almost everything a trauma nurse

             does. It’s just the type of patients that we deal with are different.

                     never let your guard down.

                     never turn your back to them.

                     don't ever let them gain your trust.”(emphasis added).

             46.     In 2006, in the Ottawa County Jail, a female inmate, who was eight (8)

      months pregnant, complained she was not feeling good. Randall Lloyd, the Jail

      Administrator at the time, responded by having officers chain her to the concrete floor.

      This pregnant inmate could not stand up and screamed through the night. She was

      chained up for 16-17 hours and went into labor days later.

             47.     In late October 2006, in the Ottawa County Jail, a female inmate had a




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      severe seizure that caused her head to slam against her cell wall. However, it was the

      policy at the Jail that the detention staff could not call 9-1-1 without Jail Administrator

      approval. The Jail Administrator, Randall Lloyd, was at a party and would not let Jail

      personnel call 9-1-1. Eventually the Jail Administrator arrived and stated “Goddamnit I

      was at a Halloween party about to get a fine piece of ass and I had to come here for this?”

      The inmate was initially treated as though she was faking her seizure disorder but

      eventually Jail personnel were allowed to call 9-1-1 for the inmate.

              48.     The acts and/or omissions of indifference as alleged herein, include but are

      not limited to: the failure to treat Mr. Ellis’ serious medical condition properly; failure to

      conduct appropriate medical assessments; failure to create and implement appropriate

      medical treatment plans; failure to promptly evaluate Mr. Ellis’ physical health; failure to

      properly monitor Mr. Anderson’s physical health; failure to provide access to medical

      personnel capable of evaluating and treating his serious health needs; unnecessary delays

      of treatment; obstruction of medical treatment for Mr. Ellis; a reckless assumption that

      Mr. Ellis was faking or malingering; and a failure to take precautions to prevent further

      injury to Mr. Ellis.

                                          CLAIMS FOR RELIEF

                                    FIRST CLAIM FOR RELIEF

            Cruel and Unusual Punishment in Violation of the Eighth and Fourteenth
                      Amendments to the Constitution of the United States
                                     (42 U.S.C. § 1983)

      A.      Allegations Applicable to Defendant Durborow, Sheriff Floyd, Defendant
              Horn and Officer Defendants

              49.     Plaintiffs re-allege and incorporate by reference paragraphs 1 through 48,

      as though fully set forth herein.


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                50.    Mr. Ellis had obvious, severe and emergent medical needs made known to

      the Defendants prior to his death.

                51.    Nonetheless, Defendants disregarded the known and obvious risks to Mr.

      Ellis’ health and safety.

                52.    Defendants failed to provide, inter alia, timely or adequate medical

      treatment and proper monitoring and supervision for Mr. Ellis while he was placed under

      their care, in deliberate indifference to Mr. Ellis’ serious medical needs, health and

      safety.

                53.    As a direct and proximate result of Defendants’ conduct, Mr. Ellis

      experienced physical pain, severe emotional distress, mental anguish, loss of consortium,

      loss of life, and the damages alleged herein.

                54.    As a direct and proximate result of Defendants’ conduct, Mr. Ellis’ heirs

      have suffered damages, including, but not limited to, pecuniary loss (including lost

      wages), funeral expenses, loss of consortium, grief, loss of companionship, pain and

      suffering.

      B.        Supervisor Liability (Applicable to Former Sheriff Durborow, in his
                individual capacity)

                55.    Plaintiffs re-allege and incorporate by reference paragraphs 1 through 54,

      as though fully set forth herein.

                56.    There is an affirmative link between the aforementioned acts and/or

      omissions of Defendants in being deliberately indifferent to Mr. Ellis’ serious medical

      needs and policies, practices and/or customs that Sheriff Durborow promulgated, created,

      implemented and/or possessed responsibility for.

                Such policies, practices and/or customs include, but are not limited to:


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                     a.        Severe limitation of the use of off-site medical and diagnostic

                               service providers, even in emergent situations;

                     b.        Untimely medical examinations and treatment;

                     c.        Understaffing (i.e., no access to an on-site physician);

                     d.        Inadequate training (i.e., training and encouraging medical

                               personnel and detention staff to assume that inmates are faking

                               illness/injury or malingering);

                     e.        Fostering an atmosphere and a system of indifference to the

                               serious health needs of inmates like Mr. Ellis; and

                     f.        Utterly inadequate medical supervision of staff and inmates.

             57.     Sheriff Durborow knew and/or it was obvious that the maintenance of the

      aforementioned policies, practices and/or customs posed an excessive risk to the health

      and safety of inmates like Mr. Ellis.

             58.     Sheriff Durborow disregarded the known and/or obvious risks to the

      health and safety of inmates like Mr. Ellis.

             59.     Sheriff Durborow, through his continued encouragement, ratification and

      approval of the aforementioned policies, practices and/or customs, in spite of their known

      and/or obvious inadequacies and dangers, has been deliberately indifferent to inmates’,

      including Mr. Ellis’, serious medical needs.

             60.     There is an affirmative link between the unconstitutional acts of his

      subordinates and Sheriff Durborow’s adoption and/or maintenance of the aforementioned

      policies, practices and/or customs.




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                61.   As a direct and proximate result of the aforementioned policies, practices

      and/or customs, Mr. Ellis and Mr. Ellis’ heirs suffered injuries and damages alleged

      herein.

      C.        Official Capacity Liability (Applicable to Sheriff Floyd, in his official
                capacity)

                62.   Plaintiffs re-allege and incorporate by reference paragraphs 1 through 61,

      as though fully set forth herein.

                63.   Sheriff Floyd is the current Sheriff of Ottawa County, Oklahoma, and is

      sued purely in his official capacity. As the elected Sheriff, Sheriff Floyd is, in essence a

      governmental entity. A claim against a state actor in his official capacity, such as Sheriff

      Floyd, “is essentially another way of pleading an action against the county or

      municipality” he represents and is considered under the standard applicable to § 1983

      claims against municipalities or counties. Porro v. Barnes, 624 F.3d 1322, 1328 (10th

      Cir. 2010). See also see Kentucky v. Graham, 473 U.S. 159, 166 (1985) (“[A]n official-

      capacity suit is, in all respects other than name, to be treated as a suit against the entity.”).

                64.   No allegations are made against Sheriff Floyd in his individual capacity.

      Sheriff Floyd, as a representative of OCSD and Ottawa County, is liable for Mr. Ellis and

      Mr. Ellis’ heirs injuries that resulted from unconstitutional acts by OCSD personnel that

      are affirmatively linked to OCSD’s adoption and/or maintenance of unconstitutional

      policies, practices and/or omissions, including the unconstitutional policies, practices

      and/or omissions detailed supra.

                                   SECOND CLAIM FOR RELIEF

                                   Negligence/Wrongful Death
                      (Against Paramedic Defendants and INTEGRIS)




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              65.    Plaintiffs re-allege and incorporate by reference paragraphs 1 through 64,

      as though fully set forth herein.

              66.    As a matter of law, the Paramedic Defendants owed a duty to Mr. Ellis to

      use reasonable care to provide appropriate assessment, evaluation, treatment, and/or

      transport.

              67.    Paramedic Defendants breached that duty by failing to provide Mr. Ellis

      with adequate assessment, evaluation, treatment and/or transport despite the obvious

      need.

              68.    As a direct and proximate result of Defendants’ negligence, Mr. Ellis

      experienced unnecessary and prolonged pain and suffering; worsening of his already

      serious condition, severe emotional distress, mental anguish, loss of his life and the

      damages alleged herein.

              69.    As a direct and proximate result of Defendants’ negligence, Mr. Ellis’

      heirs have suffered damages, including, but not limited to, pecuniary loss (including lost

      wages), loss of consortium, grief, loss of companionship, pain and suffering.

              70.    As a direct and proximate result of Defendants’ negligence, Plaintiffs

      Terral Ellis, Sr. and Shelly Bliss have suffered damages, including, but not limited to,

      grief and loss of companionship.

              71.    INTEGRIS is vicariously liable for this tortious conduct by Paramedic

      Defendants, as it occurred within the scope of Paramedic Defendants’ employment by, or

      agency with, INTEGRIS.

                                   THIRD CLAIM FOR RELIEF

              Violation of Article II § 9 of the Constitution of the State of Oklahoma
                   Cruel and Unusual Punishment and Deliberate Indifference


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                                     (Against Defendant BOCC)

             72.      Plaintiffs re-allege and incorporate by reference paragraphs 1 through 71,

      as though fully set forth herein.

             73.      Article II § 9 of the Oklahoma Constitution prohibits the infliction of cruel

      and unusual punishment.       Under the Oklahoma Constitution’s Due Process Clause,

      Article II § 7, the right to be free from cruel and unusual punishment extends to pre-trial

      detainees who have yet to be convicted of a crime (in addition to convicted prisoners who

      are clearly protected under Article II § 9).

             74.      The Constitution of the State of Oklahoma, under Article II § 9 and Article

      II § 7, provides a private right of action for Mr. Ellis to be free from cruel and unusual

      punishment, which includes protection from the denial of needed medical care while in

      custody.

             75.      As described herein, Mr. Ellis, while in the custody of OCSD in the

      Ottawa County Jail – under the care of Sheriff Durborow – was denied necessary medical

      treatment. Defendants violated Mr. Ellis’ rights by failing to provide him with prompt

      and adequate medical assessment, evaluation, treatment and supervision despite the

      obvious need.

             76.      At all times relevant, the Jail personnel described in this Complaint were

      acting within the scope of their employment and under the supervision of Defendant

      Durborow, the former Sheriff of Ottawa County.

             77.      Defendants’ denial of medical care and treatment to Mr. Ellis violated

      Article II §§ 7 and 9 of the Constitution of the State of Oklahoma and was a direct and




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      proximate cause of Mr. Ellis’ prolonged pain, suffering and untimely death, as well as all

      other damages alleged herein.

             78.     The Ottawa County Board of County Commissioners is vicariously liable

      for the violations of the Oklahoma Constitution by employees and agents acting within

      the scope of their employment.

                                          PUNITIVE DAMAGES

             79.     Plaintiffs re-allege and incorporate by reference paragraphs 1 through 78,

      as though fully set forth herein.

             80.     Plaintiff Capel is entitled to punitive damages on her claims brought

      pursuant to 42 U.S.C. § 1983 as Defendants’ conduct, acts and/or omissions alleged

      herein constitute reckless or callous indifference to Mr. Ellis’ federally protected rights.

             81.     Plaintiffs Capel, Terral Ellis, Sr., and Shelly Bliss are entitled to punitive

      damages on their negligence/wrongful death claims against the Paramedic Defendants as

      the Paramedic Defendants conduct, acts, and/or omissions alleged herein constitute gross

      negligence and/or recklessness.

             WHEREFORE, based on the foregoing, Plaintiffs Capel, Terral Ellis, Sr., and

      Shelly Bliss pray that this Court grant them the relief sought, including, but not limited

      to, actual damages and compensatory damages in excess of Seventy-Five Thousand

      Dollars ($75,000.00), with interest accruing from the date of filing of suit, punitive

      damages in excess of Seventy-Five Thousand Dollars ($75,000.00), reasonable attorney

      fees, and all other relief deemed appropriate by this Court

                                                     Respectfully submitted,

                                                     Smolen, Smolen & Roytman, PLLC




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                                         s/ Daniel E. Smolen
                                         Daniel E. Smolen, OBA #19943
                                         danielsmolen@ssrok.com
                                         Robert M. Blakemore, OBA #18656
                                         bobblakemore@ssrok.com
                                         701 South Cincinnati Avenue
                                         Tulsa, OK 74119
                                         Phone: (918) 585-2667
                                         Fax: (918) 585-2669

                                         Attorneys for Plaintiffs




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